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     Fill in this information to identify the case:

     United States Bankruptcy Court for the:
                                      Delaware
     ____________________ District of _________________
                                          (State)
                                                                 7
     Case number (If known): _________________________ Chapter _____

                                                                                                                                        Check if this is an
                                                                                                                                           amended filing
Official Form 205
Involuntary Petition Against a Non-Individual                                                                                                           12/15

Use this form to begin a bankruptcy case against a non-individual you allege to be a debtor subject to an involuntary case. If you want to begin
a case against an individual, use the Involuntary Petition Against an Individual (Official Form 105). Be as complete and accurate as possible. If
more space is needed, attach any additional sheets to this form. On the top of any additional pages, write debtor’s name and case number (if
known).


Part 1:      Identify the Chapter of the Bankruptcy Code Under Which Petition Is Filed


1.   Chapter of the                    Check one:
     Bankruptcy Code
                                       
                                       x     Chapter 7
                                            Chapter 11


Part 2:      Identify the Debtor


2.   Debtor’s name                      Park Place Development Primary, LLC
                                       ______________________________________________________________________________________________________



3.   Other names you know              __________________________________________________
     the debtor has used in
     the last 8 years                  __________________________________________________
                                       __________________________________________________
     Include any assumed
     names, trade names, or
     doing business as names.

4.   Debtor’s federal
     Employer Identification           
                                       x Unknown
     Number (EIN)
                                       ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                       EIN

                                       Principal place of business                                    Mailing address, if different
5.   Debtor’s address

                                       31 West 27th St., 9th Floor
                                       ________________________________________________               _________________________________________________
                                       Number     Street                                              Number     Street


                                                                                                      _________________________________________________
                                       _________________________________________________
                                                                                                      P.O. Box

                                       New York
                                       ______________________________        NY
                                                                            _______  10001
                                                                                    _________         _____________________________ _______ _________
                                       City                                 State   ZIP Code          City                          State   ZIP Code



                                                                                                      Location of principal assets, if different from
                                                                                                      principal place of business
                                        New York County
                                       _________________________________________________              _________________________________________________
                                       County                                                         Number     Street

                                                                                                      _________________________________________________

                                                                                                      _____________________________ _______ _________
                                                                                                      City                          State   ZIP Code


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Debtor          Park Place Development Primary, LLC
               _______________________________________________________                          Case number (if known)_____________________________________
               Name




6.    Debtor’s website (URL)        _____________________________________________________________________________________________________




7.    Type of debtor                
                                    x    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                        Partnership (excluding LLP)
                                        Other type of debtor. Specify: __________________________________________________________________________


8.    Type of debtor’s
                                    Check one:
      business
                                     Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                     Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                     Railroad (as defined in 11 U.S.C. § 101(44))
                                     Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                     Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                     Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                    
                                    x None of the types of business listed.
                                     Unknown type of business.

9.    To the best of your           
                                    x    No
      knowledge, are any
      bankruptcy cases                  Yes. Debtor _________________________________________________ Relationship __________________________
      pending by or against
                                              District __________________________ Date filed _______________ Case number, if known____________________
      any partner or affiliate
                                                                                             MM / DD / YYYY
      of this debtor?

                                              Debtor _________________________________________________            Relationship __________________________

                                              District __________________________ Date filed _______________ Case number, if known____________________
                                                                                             MM / DD / YYYY




Part 3:        Report About the Case

10.   Venue                         Check one:

                                    
                                    x Over the last 180 days before the filing of this bankruptcy, the debtor had a domicile, principal place of
                                        business, or principal assets in this district longer than in any other district.

                                     A bankruptcy case concerning debtor’s affiliates, general partner, or partnership is pending in this district.

11.   Allegations                   Each petitioner is eligible to file this petition under 11 U.S.C. § 303(b).
                                    The debtor may be the subject of an involuntary case under 11 U.S.C. § 303(a).

                                    At least one box must be checked:

                                    
                                    x The debtor is generally not paying its debts as they become due, unless they are the subject of a bona
                                        fide dispute as to liability or amount.

                                     Within 120 days before the filing of this petition, a custodian, other than a trustee, receiver, or an
                                        agent appointed or authorized to take charge of less than substantially all of the property of the
                                        debtor for the purpose of enforcing a lien against such property, was appointed or took possession.

12.   Has there been a              
                                    x No
      transfer of any claim
      against the debtor by or       Yes. Attach all documents that evidence the transfer and any statements required under Bankruptcy
      to any petitioner?                Rule 1003(a).


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Debtor             Park Place Development Primary, LLC
                  _______________________________________________________                                  Case number (if known)_____________________________________
                  Name




13.   Each petitioner’s claim                     Name of petitioner                                    Nature of petitioner’s claim                                    Amount of the claim
                                                                                                                                                                        above the value of
                                                                                                                                                                        any lien

                                                   Permasteelisa North America Corp.
                                                  ______________________________________
                                                                                                        Mechanic's Lien, Storage Claim, Third-Party Beneficiary Claim
                                                                                                        _________________________________                                 See Schedule A
                                                                                                                                                                        $ ________________

                                                   Construction Realty Safety Group, Inc.                Mechanic's Lien; Third-Party Beneficiary Claim
                                                  ______________________________________                _________________________________                                 See Schedule A
                                                                                                                                                                        $ ________________

                                                   Domani Inspection Services, Inc.                        Contract Claim
                                                  ______________________________________                _________________________________                                 See Schedule A
                                                                                                                                                                        $ ________________
                                                                                                                                                                         See attached Schedule A for
                                                                                                                                                                         additional petitioning creditors
                                                                                                                Total of petitioners’ claims                             and information on claims
                                                                                                                                                                        $ ________________


      If more space is needed to list petitioners, attach additional sheets. Write the alleged debtor’s name and the case number, if known, at
      the top of each sheet. Following the format of this form, set out the information required in Parts 3 and 4 of the form for each
      additional petitioning creditor, the petitioner’s claim, the petitioner’s representative, and the petitioner’s attorney. Include the
      statement under penalty of perjury set out in Part 4 of the form, followed by each additional petitioner’s (or representative’s) signature,
      along with the signature of the petitioner’s attorney.


Part 4:        Request for Relief

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
      $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

      Petitioners request that an order for relief be entered against the debtor under the chapter of 11 U.S.C. specified in this petition. If a
      petitioning creditor is a corporation, attach the corporate ownership statement required by Bankruptcy Rule 1010(b). If any petitioner is a
      foreign representative appointed in a foreign proceeding, attach a certified copy of the order of the court granting recognition.

      I have examined the information in this document and have a reasonable belief that the information is true and correct.

      Petitioners or Petitioners’ Representative                                             Attorneys


      Name and mailing address of petitioner

      Permasteelisa North America Corp.                                                       Daniel A. O'Brien
                                                                                             ________________________________________________________________
      ______________________________________________________________
      Name                                                                                   Printed name

                                                                                              Venable LLP
                                                                                             ________________________________________________________________
       123 Day Hill Road
      ______________________________________________________________                         Firm name, if any
      Number Street

      Windsor                            CT             06825                                1201 N. Market St., Suite 1400
                                                                                             ________________________________________________________________
      _________________________________ ______________ _____________
      City                              State          ZIP Code                              Number Street

                                                                                              Wilmington
                                                                                             _________________________________                19801 DE
                                                                                                                               ______________ _____________
                                                                                             City                              State          ZIP Code
      Name and mailing address of petitioner’s representative, if any

      ______________________________________________________________                         Contact phone      302-298-3523
                                                                                                                _________________        daobrien@venable.com
                                                                                                                                  Email ___________________________
      Name

      ______________________________________________________________                         Bar number         4897
                                                                                                               ___________________________________________________
      Number Street

      _________________________________ ______________ _____________                         State              DE
                                                                                                               _________________
      City                              State          ZIP Code

      I declare under penalty of perjury that the foregoing is true and correct.

                    5/24/2021
      Executed on _________________
                  MM / DD / YYYY                                                           /s/ Daniel A. O'Brien
                                                                                              ________________________________________________________________
                                                                                             Signature of attorney

 /s/ Thomas M. Gannon, General Counsel, Corporate Secretary
      ______________________________________________________________
                                                                                             Date signed         5/24/2021
                                                                                                                _________________
      Signature of petitioner or representative, including representative’s title
                                                                                                                MM / DD / YYYY



Official Form 205                                                 Involuntary Petition Against a Non-Individual                                                             page 3
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Debtor          Park Place Development Primary, LLC
               _______________________________________________________                                  Case number (if known)_____________________________________
               Name




   Name and mailing address of petitioner
                                                                                           Daniel A. O'Brien
   Construction Realty Safety Group, Inc.
   ______________________________________________________________                         ________________________________________________________________
   Name                                                                                   Printed name

                                                                                           Venable LLP
                                                                                          ________________________________________________________________
   248 West 35th St., 8th Floor
   ______________________________________________________________                         Firm name, if any
   Number Street

                                                                      10001                1201 N. Market St., Suite 1400
    New York                                     NY
   _________________________________ ______________ _____________                         ________________________________________________________________
   City                              State          ZIP Code                              Number Street

                                                                                           Wilmington
                                                                                          _________________________________  DE
                                                                                                                            ______________
                                                                                                                                                   19801
                                                                                                                                           _____________
                                                                                          City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any
                                                                                          Contact phone    302-298-3523
                                                                                                           _________________        daobrien@venable.com
                                                                                                                             Email ___________________________
   ______________________________________________________________
   Name
                                                                                          Bar number       4897
                                                                                                          ___________________________________________________
   ______________________________________________________________
   Number Street
                                                                                          State            DE
                                                                                                          _________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

                 5/24/2021
   Executed on _________________
               MM / DD / YYYY
                                                                                            /s/ Daniel A. O'Brien
                                                                                           ________________________________________________________________
                                                                                          Signature of attorney


 /s/ Matthew Caruso, President
    ______________________________________________________________                        Date signed
                                                                                                             5/24/2021
                                                                                                           _________________
   Signature of petitioner or representative, including representative’s title                             MM / DD / YYYY




   Name and mailing address of petitioner

    Trade Off Plus, LLC                                                                    Daniel A. O'Brien
                                                                                          ________________________________________________________________
   ______________________________________________________________
   Name                                                                                   Printed name

                                                                                            Venable LLP
                                                                                          ________________________________________________________________
    248 West 35th St., 8th Floor
   ______________________________________________________________                         Firm name, if any
   Number Street

                                                  NY                  10001                1201 N. Market St., Suite 1400
    New York
   _________________________________ ______________ _____________                         ________________________________________________________________
   City                              State          ZIP Code                              Number Street

                                                                                           Wilmington                               DE      19801
                                                                                          _________________________________ ______________ _____________
                                                                                          City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any
                                                                                          Contact phone
                                                                                                            302-298-3523            daobrien@venable.com
                                                                                                           _________________ Email ___________________________
   ______________________________________________________________
   Name
                                                                                          Bar number       4897
                                                                                                          ___________________________________________________
   ______________________________________________________________
   Number Street
                                                                                          State             DE
                                                                                                          _________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

                  5/24/2021
   Executed on _________________
               MM / DD / YYYY
                                                                                             /s/ Daniel A. O'Brien
                                                                                           ________________________________________________________________
                                                                                          Signature of attorney


 /s/ Matthew Caruso, President
    ______________________________________________________________                        Date signed       5/24/2021
                                                                                                           _________________
   Signature of petitioner or representative, including representative’s title                             MM / DD / YYYY




Official Form 205                                              Involuntary Petition Against a Non-Individual                                       page 4
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Debtor             Park Place Development Primary, LLC
                  _______________________________________________________                                Case number (if known)_____________________________________
                  Name




   Name and mailing address of petitioner
    Domani Inspection Services, Inc.                                                        Daniel A. O'Brien
                                                                                           ________________________________________________________________
   ______________________________________________________________
   Name                                                                                    Printed name

                                                                                            Venable LLP
                                                                                           ________________________________________________________________
    248 West 35th St., 8th Floor
   ______________________________________________________________                          Firm name, if any
   Number Street

    New York                                       NY10001                                  1201 N. Market St., Suite 1400
                                                                                           ________________________________________________________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code                               Number Street

                                                                                            Wilmington                        DE
                                                                                           _________________________________ ______________  19801
                                                                                                                                            _____________
                                                                                           City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any
                                                                                           Contact phone    302-298-35223
                                                                                                            _________________        daobrien@venable.com
                                                                                                                              Email ___________________________
   ______________________________________________________________
   Name
                                                                                           Bar number       4897
                                                                                                           ___________________________________________________
   ______________________________________________________________
   Number Street
                                                                                           State
                                                                                                            DE
                                                                                                           _________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

                      5/24/2021
   Executed on _________________
               MM / DD / YYYY
                                                                                             /s/ Daniel A. O'Brien
                                                                                            ________________________________________________________________
                                                                                           Signature of attorney


 /s/        Matthew Caruso, President
    ______________________________________________________________                         Date signed        5/24/2021
                                                                                                            _________________
   Signature of petitioner or representative, including representative’s title                              MM / DD / YYYY




   Name and mailing address of petitioner

    S&E Bridge & Scaffold LLC                                                                Daniel A. O'Brien
   ______________________________________________________________                          ________________________________________________________________
   Name                                                                                    Printed name

                                                                                             Venable LLP
     700 Commercial Avenue                                                                 ________________________________________________________________
   ______________________________________________________________                          Firm name, if any
   Number Street

    Carlstadt                                       NJ
                                                     07072                                  1201 N. Market St., Suite 1400
                                                                                           ________________________________________________________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code                               Number Street

                                                                                            Wilmington
                                                                                           _________________________________  DE
                                                                                                                             ______________  19801
                                                                                                                                            _____________
                                                                                           City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any
                                                                                           Contact phone    302-298-3523
                                                                                                            _________________        daobrien@venable.com
                                                                                                                              Email ___________________________
   ______________________________________________________________
   Name
                                                                                           Bar number
                                                                                                             4897
                                                                                                           ___________________________________________________
   ______________________________________________________________
   Number Street
                                                                                           State             DE
                                                                                                           _________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

                5/24/2021
   Executed on _________________
               MM / DD / YYYY
                                                                                             /s/ Daniel A. O'Brien
                                                                                            ________________________________________________________________
                                                                                           Signature of attorney


        /s/ Thomas J. Garcia, Executive Vice President, Chief Financial Officer
    ______________________________________________________________                         Date signed
                                                                                                                5/24/2021
                                                                                                            _________________
   Signature of petitioner or representative, including representative’s title                              MM / DD / YYYY




Official Form 205                                               Involuntary Petition Against a Non-Individual                                       page 5
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Debtor          Park Place Development Primary, LLC
               _______________________________________________________                                  Case number (if known)_____________________________________
               Name




   Name and mailing address of petitioner

   Ismael Leyva Architect, P.C.                                                            Daniel A. O'Brien
                                                                                          ________________________________________________________________
   ______________________________________________________________
   Name                                                                                   Printed name

                                                                                           Venable LLP
                                                                                          ________________________________________________________________
    48 West 37th St.
   ______________________________________________________________                         Firm name, if any
   Number Street

    New York                                      NY                  10018                1201 N. Market St., Suite 1400
                                                                                          ________________________________________________________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code                              Number Street

                                                                                           Wilmington                        DE
                                                                                          _________________________________ ______________  19801
                                                                                                                                           _____________
                                                                                          City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any
                                                                                          Contact phone    302-298-35223
                                                                                                           _________________        daobrien@venable.com
                                                                                                                             Email ___________________________
   ______________________________________________________________
   Name
                                                                                          Bar number       4897
                                                                                                          ___________________________________________________
   ______________________________________________________________
   Number Street
                                                                                          State
                                                                                                           DE
                                                                                                          _________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

                5/24/2021
   Executed on _________________
               MM / DD / YYYY
                                                                                            /s/ Daniel A. O'Brien
                                                                                           ________________________________________________________________
                                                                                          Signature of attorney


 /s/ Ismael Leyva, Principal
    ______________________________________________________________                        Date signed
                                                                                                             5/24/2021
                                                                                                           _________________
   Signature of petitioner or representative, including representative’s title                             MM / DD / YYYY




   Name and mailing address of petitioner

   ______________________________________________________________                         ________________________________________________________________
   Name                                                                                   Printed name

                                                                                          ________________________________________________________________
   ______________________________________________________________                         Firm name, if any
   Number Street

   _________________________________ ______________ _____________                         ________________________________________________________________
   City                              State          ZIP Code                              Number Street

                                                                                          _________________________________ ______________ _____________
                                                                                          City                              State          ZIP Code
   Name and mailing address of petitioner’s representative, if any
                                                                                          Contact phone    _________________ Email ___________________________
   ______________________________________________________________
   Name
                                                                                          Bar number      ___________________________________________________
   ______________________________________________________________
   Number Street
                                                                                          State           _________________
   _________________________________ ______________ _____________
   City                              State          ZIP Code

    I declare under penalty of perjury that the foregoing is true and correct.

   Executed on _________________
               MM / DD / YYYY
                                                                                          ________________________________________________________________
                                                                                          Signature of attorney


   ______________________________________________________________                        Date signed      _________________
   Signature of petitioner or representative, including representative’s title                             MM / DD / YYYY




Official Form 205                                              Involuntary Petition Against a Non-Individual                                       page 6
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Debtor: Park Place Development Primary, LLC



                                          Schedule A – Petitioning Creditors
  Name and Address of Petitioner                 Nature of Claim                            Amount of Claim


 Permasteelisa North America Corp.   Mechanic’s Lien; Contract Claim for         Secured – $8,858,534.80
 123 Day Hill Road                   Storage Costs from and after December 24,
 Windsor, CT 06825                   2019; Third-Party Beneficiary Claim         Unsecured - $187,750.00
 Attn: Thomas M. Gannon
                                                                                 See Declaration of Thomas M. Gannon
                                                                                 attached hereto as Exhibit 1

 Construction Realty Safety Group    Mechanic’s Lien; Third-Party Beneficiary    Secured - $39,390.00
 Inc.                                Claim
 248 West 35th St., 8th Floor                                                    See Declaration of Matthew Caruso
 New York, NY 10001                                                              attached hereto as Exhibit 2
 Attn: Mathew Caruso


 Trade Off Plus, LLC                 Mechanic’s Lien; Third-Party Beneficiary    Secured - $240,146.25
 248 West 35th St., 8th Floor        Claim
 New York, NY 10001                                                              See Declaration of Matthew Caruso
 Attn: Mathew Caruso                                                             attached hereto as Exhibit 3


 Domani Inspection Services, Inc.    Contract Claim                              Unsecured - $47,884.64
 248 West 35th St., 8th Floor
 New York, NY 10001                                                              See Declaration of Matthew Caruso
 Attn: Mathew Caruso                                                             attached hereto as Exhibit 4
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S&E Bridge & Scaffold LLC           Mechanic’s Lien; Third-Party Beneficiary   Secured - $739,858.41
700 Commercial Avenue               Claim
Carlstadt, NJ 07072                                                            Unsecured - $16,750.00
Attn: Thomas J. Garcia
                                                                               See Declaration of Thomas J. Garcia
                                                                               attached hereto as Exhibit 5

Ismael Leyva Architect, P.C.        Mechanic’s Lien; Third-Party Beneficiary   Secured - $93,571.40
48 West 37th St.                    Claim; Contract Claim
New York, NY 10018                                                             See Declaration of Ismael Leyva attached
Attn: Ismael Leyva                                                             hereto as Exhibit 6
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                    Exhibit 1
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                    Exhibit 2
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


 In re:                                                    Chapter 7

 Park Place Development Primary, LLC,                      Case No. 21-        (    )

                    Alleged Debtor.

                            DECLARATION OF MATTHEW CARUSO

          I, Matthew Caruso, hereby declare as follows:

         1.        I am the owner and President of Construction Realty Safety Group Inc. (hereinafter

“CR Safety”). I have served in this role since May 14, 2013, as such I am familiar with CR Safety’s

businesses, including CR Safety’s involvement in the Project (as defined herein) and its claims

against alleged debtor Park Place Development Primary, LLC (hereinafter “Park Place Primary”)

related thereto.

         2.        I submit this declaration to provide background concerning CR Safety’s claims

against Park Place Primary.

         3.        Except as otherwise indicated, the statements set forth in this declaration are based

upon my personal knowledge, information learned from my review of relevant documents and

court pleadings, or information supplied to me from other members of CR Safety’s management

and CR Safety’s advisors. If called to testify, I could and would testify competently to the matters

set forth in this declaration.

    I.        Background.

              a. The Project

         4.        Park Place Primary is the owner of record of the real property commonly known as

43 Park Place, located at 43 Park Place, New York, New York 10007, and as designated on the tax


                                                     1
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map of New York County as Block 126, Lot 8 (“Lot 8”).

      5.         Lot 8 is the real property on which an unfinished residential condominium

construction project (the “Project”, together with Lot 8, the “Property”) is located. The Project is

commonly described as “45 Park Place,” even though construction of the Project occurred at the

physical location of Lot 8.

      6.         Gilbane Residential Construction LLC (“Gilbane”), a general contracting and

construction management company, and Park Place Partners Development LLC (“Park Place

Development”), an affiliate of Park Place Primary and prior owner of Lot 8 (as discussed infra),

entered into a written Construction Management Agreement dated as of March 15, 2015 (the

“CMA”), whereby Gilbane agreed to provide construction management services in connection

with the Project.1 The CMA was amended and assumed by Park Place Primary on April 28, 2016.

      7.         CR Safety, as a subcontractor, and Gilbane, as the general contractor, entered into

a Short Form Contract Agreement with Gilbane dated as of December 21, 2017, (together with all

amendments, change orders, exhibits, thereto, the “Contract”), pursuant to which CR Safety

undertook to furnish site safety management consulting services in connection with the Project.

    II.     The Project Financing

      8.         On or about April 26, 2016, Malayan Banking Berhad, New York Branch, as

administrative agent for Malayan Banking Berhad, London Branch, Intesa Sanpaolo S.P.A., New

York Branch, WARBA Bank K.S.C.P. and 45 Park Place Investments, LLC (collectively, the

“Lenders”) agreed to advance money to Park Place Primary in the maximum aggregate principal

amount of up to $174,000,000.00, consisting of (i) advances in the aggregate principal amount of



1
  Upon information and belief, Park Place Primary and Park Place Development are owned and/or controlled by the
same beneficial interest holders, including Sharif El-Gamal, the lead owner and guarantor of the Project.


                                                      2
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in the Supreme Court of the State of New York, County of New York (hereinafter the “NY

Supreme Court”), Index No. 850083/2020 (the “Foreclosure Action”), seeking to foreclose on the

Property (and certain mortgages, liens and interests thereon, including Park Place Primary’s

alleged rights, benefits and easements, if any). An amended complaint was filed on July 14, 2020.

The Foreclosure Action, including several dispositive motions, remains pending.2

      13.        There are substantial disputes over the Lenders’ actions in connection with the

Facility and the validity, priority and extent of the Lenders’ liens on the Property. Park Place

Primary has filed a summons in the NY Supreme Court, Index No. 652366/2020, and a motion to

dismiss the Foreclosure Action, alleging, among other things, certain lender liability

claims/defenses, including that the Lenders abrogated, ignored and breached their obligations

under the BFA (and related loan documents) by, among other things, failing to fund draw requests

and fabricating defaults. Park Place Primary also alleges that the Lenders failed to act in

conformance with the principles of Sharia Law, as required by the BFA (and related loan

documents).

      14.        Upon a cursory review of the answers, counterclaims and motions filed in the

Foreclosure Action by CR Safety and other mechanic’s lienholders evidence further disputes with

respect to the priority of the Lenders’ purported liens on the Property. Specifically, CR Safety and

other mechanic’s lienholders allege, among other things, that the Section 22 Affidavit, sworn to

by Sharif El-Gamal on behalf of Park Place Primary and filed by the Lenders in connection with

the Facility, was materially false on and after the date of filing and/or failed to contain material


2
  Upon information and belief, the NY Supreme Court has indicated that it will take at least a year to adjudicate
pending motions for summary judgment and to dismiss (which are not yet fully briefed) in the Foreclosure Action.
Depending on the eventual disposition of such motions, it is entirely possible (and, indeed, likely) that subsequent
discovery and trial in the Foreclosure Action will require extensive time thereafter—which puts any potential
foreclosure auction and sale of the Property in the distant future, at best.


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information required by Section 22 (i.e., the amount paid and to be paid for the loan, which

information was clearly required to be included therein pursuant to the statute and as required by

the Lenders as evidenced by Section 13.1(ee) and Exhibit G of the BFA.3

    IV.       Claims Against Park Place Primary

        15.       During the period between November 1, 2017 and February 7, 2020, CR Safety

performed site safety management consulting services at the Project, which consisted of Site

Safety Plan drafting and daily on-site safety consulting services in accordance with applicable New

York City Building Code requirements, having an agreed upon price and reasonable value of

$700,001.25. The services so performed by CR Safety were performed and furnished for the

improvement of the Project.

        16.       On or about December 20, 2019, CR Safety caused to be filed and docketed in the

Clerk’s Office a verified Notice of Mechanic’s Lien against the Property in the amount of

$34,937.50 (“Lien 1”).

        17.       On or about February 7, 2020, CR Safety caused to be filed and docketed in the

Clerk’s Office a verified Notice of Mechanic’s Lien against the Property in the amount of

$4,452.50 (“Lien 2,” together with Lien 1, the “Liens”).

        18.       As set forth in the Liens, CR Safety, as a mechanic’s lienholder, has a secured claim

against the Property in an amount no less than $39,390.00. There have been no challenges by Park

Place Primary to CR Safety’s mechanic’s liens claims. I have been advised that the unsecured


3
  I have been advised that when a construction lender contributes funding to a construction project in New York,
section 22 of N.Y. Lien Law applies to determine whether the lender’s mortgage lien against the property has priority
over any subsequently filed mechanic’s liens. If a construction lender follows the statute and files the proper
paperwork when the loan closes, and mechanics’ lien claims are filed thereafter, the lender’s lien will be senior to the
lien claimants. However, if a lender knowingly files a building loan contract that materially misrepresents the net sum
available to the borrower for the improvement or otherwise evidences a failure to comply with section 22 of N.Y. Lien
Law (e.g., a failure of the affidavit to set forth amounts to be paid for the loan), such lender’s mortgage is subordinated
to subsequently filed mechanic’s liens.


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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


 In re:                                                    Chapter 7

 Park Place Development Primary, LLC,                      Case No. 21-        (    )

                    Alleged Debtor.

                            DECLARATION OF MATTHEW CARUSO

          I, Matthew Caruso, hereby declare as follows:

         1.        I am the owner and President of Trade Off Plus, LLC (hereinafter “Trade Off”). I

have served in this role since September 15, 2020, as such I am familiar with Trade Off’s

businesses, including Trade Off’s involvement in the Project (as defined herein) and its claims

against alleged debtor Park Place Development Primary, LLC (hereinafter “Park Place Primary”)

related thereto.

         2.        I submit this declaration to provide background concerning Trade Off’s claims

against Park Place Primary.

         3.        Except as otherwise indicated, the statements set forth in this declaration are based

upon my personal knowledge, information learned from my review of relevant documents and

court pleadings, or information supplied to me from other members of Trade Off’s management

and Trade Off’s advisors. If called to testify, I could and would testify competently to the matters

set forth in this declaration.

    I.        Background.

              a. The Project

         4.        Park Place Primary is the owner of record of the real property commonly known as

43 Park Place, located at 43 Park Place, New York, New York 10007, and as designated on the tax

map of New York County as Block 126, Lot 8 (“Lot 8”).
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      5.         Lot 8 is the real property on which an unfinished residential condominium

construction project (the “Project”, together with Lot 8, the “Property”) is located. The Project is

commonly described as “45 Park Place,” even though construction of the Project occurred at the

physical location of Lot 8.

      6.         Gilbane Residential Construction LLC (“Gilbane”), a general contracting and

construction management company, and Park Place Partners Development LLC (“Park Place

Development”), an affiliate of Park Place Primary and prior owner of Lot 8 (as discussed infra),

entered into a written Construction Management Agreement dated as of March 15, 2015 (the

“CMA”), whereby Gilbane agreed to provide construction management services in connection

with the Project.1 The CMA was amended and assumed by Park Place Primary on April 28, 2016.

      7.         Trade Off, as a subcontractor, and Gilbane, as the general contractor, entered into

a Short Form Contract Agreement with Gilbane dated as of November 15, 2018, (together with all

amendments, change orders, exhibits, thereto, the “Contract”), pursuant to which Trade Off

undertook to furnish general construction labor services in connection with the Project.

    II.     The Project Financing

      8.         On or about April 26, 2016, Malayan Banking Berhad, New York Branch, as

administrative agent for Malayan Banking Berhad, London Branch, Intesa Sanpaolo S.P.A., New

York Branch, WARBA Bank K.S.C.P. and 45 Park Place Investments, LLC (collectively, the

“Lenders”) agreed to advance money to Park Place Primary in the maximum aggregate principal

amount of up to $174,000,000.00, consisting of (i) advances in the aggregate principal amount of

up to $162,112,896.16, the proceeds of which were to be used to finance the Costs of



1
  Upon information and belief, Park Place Primary and Park Place Development are owned and/or controlled by the
same beneficial interest holders, including Sharif El-Gamal, the lead owner and guarantor of the Project.


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Supreme Court”), Index No. 850083/2020 (the “Foreclosure Action”), seeking to foreclose on the

Property (and certain mortgages, liens and interests thereon, including Park Place Primary’s

alleged rights, benefits and easements, if any). An amended complaint was filed on July 14, 2020.

The Foreclosure Action, including several dispositive motions, remains pending.2

      13.        There are substantial disputes over the Lenders’ actions in connection with the

Facility and the validity, priority and extent of the Lenders’ liens on the Property. Park Place

Primary has filed a summons in the NY Supreme Court, Index No. 652366/2020, and a motion to

dismiss the Foreclosure Action, alleging, among other things, certain lender liability

claims/defenses, including that the Lenders abrogated, ignored and breached their obligations

under the BFA (and related loan documents) by, among other things, failing to fund draw requests

and fabricating defaults. Park Place Primary also alleges that the Lenders failed to act in

conformance with the principles of Sharia Law, as required by the BFA (and related loan

documents).

      14.        Upon a cursory review of the answers, counterclaims and motions filed in the

Foreclosure Action by Trade Off and other mechanic’s lienholders evidence further disputes with

respect to the priority of the Lenders’ purported liens on the Property. Specifically, Trade Off and

other mechanic’s lienholders allege, among other things, that the Section 22 Affidavit, sworn to

by Sharif El-Gamal on behalf of Park Place Primary and filed by the Lenders in connection with

the Facility, was materially false on and after the date of filing and/or failed to contain material

information required by Section 22 (i.e., the amount paid and to be paid for the loan, which


2
  Upon information and belief, the NY Supreme Court has indicated that it will take at least a year to adjudicate
pending motions for summary judgment and to dismiss (which are not yet fully briefed) in the Foreclosure Action.
Depending on the eventual disposition of such motions, it is entirely possible (and, indeed, likely) that subsequent
discovery and trial in the Foreclosure Action will require extensive time thereafter—which puts any potential
foreclosure auction and sale of the Property in the distant future, at best.


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information was clearly required to be included therein pursuant to the statute and as required by

the Lenders as evidenced by Section 13.1(ee) and Exhibit G of the BFA.3

    IV.        Claims Against Park Place Primary

         15.      During the period between November 1, 2017 and February 7, 2020, Trade Off

performed general construction labor services at the Project, which consisted of safety protection

and carpentry work, having an agreed upon price and reasonable value of $700,001.25. The

services so performed by Trade Off were performed and furnished for the improvement of the

Project.

         16.      On or about December 20, 2019, Trade Off caused to be filed and docketed in the

Clerk’s Office a verified Notice of Mechanic’s Lien against the Property in the amount of

$240,146.25 (“Notice of Lien”).

         17.      As set forth in the Notice of Lien, Trade Off, as a mechanic’s lienholder, has a

secured claim against the Property in an amount no less than $240,146.25. There have been no

challenges by Park Place Primary to Trade Off’s mechanic’s liens claims. I have been advised that

the unsecured claims held by the petitioning creditors exceed the statutory threshold required to

commence an involuntary proceeding against the Park Place Primary.

    V.         Third-Party Beneficiary Claim

       18.        I have been advised that Trade Off has a third-party beneficiary claim directly

against Park Place Primary arising from Park Place Primary’s covenants to perform various actions


3
  I have been advised that when a construction lender contributes funding to a construction project in New York,
section 22 of N.Y. Lien Law applies to determine whether the lender’s mortgage lien against the property has priority
over any subsequently filed mechanic’s liens. If a construction lender follows the statute and files the proper
paperwork when the loan closes, and mechanics’ lien claims are filed thereafter, the lender’s lien will be senior to the
lien claimants. However, if a lender knowingly files a building loan contract that materially misrepresents the net sum
available to the borrower for the improvement or otherwise evidences a failure to comply with section 22 of N.Y. Lien
Law (e.g., a failure of the affidavit to set forth amounts to be paid for the loan), such lender’s mortgage is subordinated
to subsequently filed mechanic’s liens.


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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


 In re:                                                   Chapter 7

 Park Place Development Primary, LLC,                     Case No. 21-       (    )

                  Alleged Debtor.

                             DECLARATION OF MATTHEW CARUSO

          I, Matthew Caruso, hereby declare as follows:

         1.      I am the owner and President of Domani Inspection Services, Inc. (hereinafter

“Domani”). I have served in this role since September 25, 2012, as such I am familiar with

Domani’s businesses, including Domani’s involvement in the Project (as defined herein) and its

claims against alleged debtor Park Place Development Primary, LLC (hereinafter “Park Place

Primary”) related thereto.

         2.      I submit this declaration to provide background concerning Domani’s claims

against Park Place Primary.

         3.      Except as otherwise indicated, the statements set forth in this declaration are based

upon my personal knowledge, information learned from my review of relevant documents and

court pleadings, or information supplied to me from other members of Domani’s management and

Domani’s advisors. If called to testify, I could and would testify competently to the matters set

forth in this declaration.

    I.        Background.

              a. The Project

         4.      Park Place Primary is the owner of record of the real property commonly known as

43 Park Place, located at 43 Park Place, New York, New York 10007, and as designated on the tax


                                                   1
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map of New York County as Block 126, Lot 8 (“Lot 8”).

     5.        Lot 8 is the real property on which an unfinished residential condominium

construction project (the “Project”, together with Lot 8, the “Property”) is located. The Project is

commonly described as “45 Park Place,” even though construction of the Project occurred at the

physical location of Lot 8.

     6.        Domani, entered into a Professional Services Agreement with Park Place Partners

Development LLC, dated as of December November 26, 2014, amended on April 26, 2016 to be

with Park Place Development Primary LLC (together with all amendments, change orders,

exhibits, thereto, the “Contract”), pursuant to which Domani undertook to furnish special

inspection services in connection with the Project.

   II.     The Project Financing

     7.        On or about April 26, 2016, Malayan Banking Berhad, New York Branch, as

administrative agent for Malayan Banking Berhad, London Branch, Intesa Sanpaolo S.P.A., New

York Branch, WARBA Bank K.S.C.P. and 45 Park Place Investments, LLC (collectively, the

“Lenders”) agreed to advance money to Park Place Primary in the maximum aggregate principal

amount of up to $174,000,000.00, consisting of (i) advances in the aggregate principal amount of

up to $162,112,896.16, the proceeds of which were to be used to finance the Costs of

Improvements (as such term is defined in the New York Lien Law) associated with the Project,

pursuant to and evidenced by, among other things, the Building Facility Agreement dated April

26, 2016 (the “BFA”), and (ii) advances in the aggregate principal amount of up to $11,887,103.84,

the proceeds of which were to be used to pay soft costs associated with the Project other than the

Costs of Improvement, pursuant to and evidenced by, among other things, the Project Facility

Agreement dated April 26, 2016 (the “PFA,” together with the BFA, the “Facility”).



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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


 In re:                                                Chapter 7

 Park Place Development Primary, LLC,                  Case No. 21-_____ (___)

                  Alleged Debtor.


                           DECLARATION OF THOMAS J. GARCIA

          I, Thomas J. Garcia, hereby declare as follows:

                        I am the Executive Vice-President and Chief Financial Officer of S&E

Bridge & Scaffold LLC ("S&E"); and, in that capacity, I have personal knowledge of S&E’s

business and financial affairs, including S&E’s involvement in the Project (as defined herein) and

S&E’s claims against the alleged debtor, Park Place Development Primary, LLC (“Park Place

Primary”), related thereto.

                        I submit this declaration to provide background concerning S&E’s claims

against Park Place Primary.

                        Except as otherwise indicated, the statements set forth in this declaration

are based upon my personal knowledge, information learned from my review of relevant

documents and court pleadings, or information supplied to me from other members of S&E’s

management or S&E’s advisors. I am authorized to submit this declaration on behalf of S&E. If

called to testify, I could and would testify competently to the matters set forth in this declaration.




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        (i)      Background

                 (a)     The Project

                         Park Place Primary is the owner of record of the real property commonly

known as 43 Park Place, located at 43 Park Place, New York, New York 10007, and as designated

on the tax map of New York County as Block 126, Lot 8 (“Lot 8”).

                         Lot 8 is the real property on which an unfinished residential condominium

construction project (the “Project”, together with Lot 8, the “Property”) is located. The Project is

commonly described as “45 Park Place”, even though construction of the Project occurred at the

physical location of Lot 8.

                         Gilbane Residential Construction LLC (“Gilbane”), a general contracting

and construction management company, and Park Place Partners Development LLC (“Park Place

Development”), an affiliate of Park Place Primary and prior owner of Lot 8 (as discussed infra),

entered into a written Construction Management Agreement dated as of March 15, 2015 (the

“CMA”), whereby Gilbane agreed to provide construction management services in connection

with the Project.1 The CMA was amended and assumed by Park Place Primary on April 28, 2016.

                         S&E, as subcontractor, and Gilbane, as general contractor, entered into a

Trade Contract Agreement dated as of July 6, 2016 (together with the amendments,exhibits, and

related instruments and agreements thereto, collectively, the “TCA”), pursuant to which S&E

undertook to furnish labor, services, materials and equipment for the installation and dismantling

of a hoist, heavy duty platform, roof protection shed, gate, fence, overhead protector, scaffold, start

tower and other items of material necessary for the work at the Project.



1
  Upon information and belief, Park Place Primary and Park Place Development are owned and/or controlled by the
same beneficial interest holders, including Sharif El-Gamal, the lead owner and guarantor of the Project.


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                       Thereafter, S&E performed all of its obligations on its part to be performed

pursuant to the TCA, so that the sum of $2,199,000.00 became due and owing to S&E for the labor

it performed and the materials it furnished to Gilbane for the Project.

                       Gilbane breached the TCA by failing to pay S&E for all of the labor

performed and materials and equipment furnished by S&E for the Project, leaving a balance due

and owing to S&E from Gilbane of $409,118.41, no part of which has been paid, although duly

demanded.

                       Subsequently, S&E became aware that Gilbane had been terminated from

the Project. Nonetheless, S&E continued, and still continues up to the present, to perform all of

its obligations under the TCA for the Project, and for which Park Place Primary is receiving the

value and benefit.

                       S&E has filed three separate mechanic’s liens against the Project, one

against the interests of Gilbane, as contractor; and Park Place Primary and Park Place

Development, as fee owners, in the sum of $409,118.41; and, since Gilbane was terminated from

the Project, two against the interests of Park Place Primary and Park Place Development, as both

contractors and as fee owners, in the respective sums of $90,090.00 and $257,400.00.

               (b)     The Project Financing

                       On or about April 26, 2016, Malayan Banking Berhad, New York Branch,

as administrative agent for Malayan Banking Berhad, London Branch, Intesa Sanpaolo S.P.A.,

New York Branch, WARBA Bank K.S.C.P. and 45 Park Place Investments, LLC (collectively,

the “Lenders”) agreed to advanced money to Park Place Primary in the maximum aggregate

principal amount of up to $174,000,000.00, consisting of (i) advances in the aggregate principal

amount of up to $162,112,896.16, the proceeds of which were to be used to finance the Costs of



                                                 3
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Improvements (as such term is defined in the New York Lien Law) associated with the Project,

pursuant to and evidenced by, among other things, the Building Facility Agreement dated April

26, 2016 (the “BFA”), and (ii) advances in the aggregate principal amount of up to $11,887,103.84,

the proceeds of which were to be used to pay soft costs associated with the Project other than the

Costs of Improvement, pursuant to and evidenced by, among other things, the Project Facility

Agreement dated April 26, 2016 (the “PFA”, together with the BFA, the “Facility”).

                           The Facility was purportedly structured to be Sharia Law compliant.

                           On or prior to May 17, 2016, the Lenders filed an affidavit dated April 26,

2016, sworn to by Sharif El-Gamal on behalf of Park Place Primary, pursuant to section 22 (the

“Section 22 Affidavit”) of the New York Lien Law (“N.Y. Lien Law”) with the Office of the Clerk

for the County of New York (the “Clerk’s Office”).2

                  (c)      The ZLDA

                           On or about May 17, 2016, Park Place Development, as the alleged owner

of Lot 8, and Park Place Development, as the alleged owner of the neighboring premises located

at 45-51 Park Place, New York, New York 10007 (Block 126, Lot 9) (“Lot 9”), executed that

certain Zoning and Lot Development and Easement Agreement (the “ZLDA”), concerning Lot 8

and Lot 9. Park Place Primary did not sign the ZLDA and is not mentioned therein. Sharif El-

Gamal signed the ZLDA on behalf of Park Place Development, as the only party to the agreement.

However, the ZLDA was needed to, among other things, ensure that Park Place Primary had rights

to use some of Lot 9 to provide sufficient floor (or “staging”) area to construct the Project.



2
  In brief summary, Section 22 of the NY Lien Law requires, among other things, that a lender that makes a loan for
improvements on real property file an affidavit from the owner/borrower containing certain information, including the
consideration paid or to be paid for the loan, all other expenses incurred or to be incurred in connection therewith, and
the net sum available to the owner/borrower for the improvement.


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                 (d)      The Foreclosure Action

                          On or about March 11, 2020, the Lenders initiated a foreclosure action

against Park Place Primary, among others, including S&E, as a mechanic’s lienholder (discussed

infra), in the Supreme Court of the State of New York, County of New York (the “NY Supreme

Court”), Index No. 850083/2020 (the “Foreclosure Action”), seeking to foreclose on the Property

(and certain mortgages, liens and interests thereon, including Park Place Primary’s alleged rights,

benefits and easements, if any, under the ZLDA). An amended complaint was filed on July 14,

2020. The Foreclosure Action, including several dispositive motions, remains pending.3

                          There are substantial disputes over the Lenders’ actions in connection with

the Facility and the validity, priority and extent of the Lenders’ liens on the Property. Park Place

Primary has filed a summons in the NY Supreme Court, Index No. 652366/2020, and a motion to

dismiss in the Foreclosure Action, alleging, among other things, certain lender liability

claims/defenses, including that the Lenders abrogated, ignored and breached their obligations

under the BFA (and related loan documents) by, among other things, failing to fund draw requests

and fabricating defaults. Park Place Primary also alleges that the Lenders failed to act in

conformance with the principles of Sharia Law, as required by the BFA (and related loan

documents).

                          A cursory review of the answers, counterclaims and motions filed in the

Foreclosure Action by S&E and other mechanic’s lienholders evidence further disputes with

respect to the priority of the Lenders’ purported liens on the Property. Specifically, S&E and other


3
  The NY Supreme Court has indicated that it will take at least a year to adjudicate pending motions for summary
judgment and to dismiss (which are not yet fully briefed) in the Foreclosure Action. Depending on the eventual
disposition of such motions, it is entirely possible (and, indeed, likely) that subsequent discovery and trial in the
Foreclosure Action will require extensive time thereafter—which puts any potential foreclosure auction and sale of
the Property in the distant future, at best.


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mechanic’s lienholders allege, among other things, that the Section 22 Affidavit, sworn to by

Sharif El-Gamal on behalf of Park Place Primary and filed by the Lenders in connection with the

Facility, was materially false on and after the date of filing and/or failed to contain material

information required by Section 22 (i.e., the amount paid and to be paid for the loan, which

information was clearly required to be included therein pursuant to the statute and as required by

the Lenders as evidenced by Section 13.1(ee) and Exhibit G of the BFA).4

         (ii)     Claims Against Park Place Primary

                            During the period between September 19, 2017 and continuing to the

present time, S&E performed and is performing labor and furnished and is furnishing material and

equipment for use at the Property, consisting of the installation and dismantling of a hoist, heavy

duty platform, roof protection shed, gate, fence, overhead protector, scaffold, start tower and other

items of material necessary for the work at the Project; having an agreed price and reasonable

value of more than $2.5 million. The labor so performed, and material and equipment so furnished

by S&E were performed and furnished for the improvement of the Project.

                            S&E has filed three separate mechanic’s liens against the Project, one

against the interests of Gilbane, as contractor; and Park Place Primary and Park Place

Development, as fee owners, in the sum of $409,118.41; and, since Gilbane was terminated from

the Project, two against the interests of Park Place Primary and Park Place Development, as both




4
  I have been advised that when a construction lender contributes funding to a construction project in New York,
section 22 of N.Y. Lien Law applies to determine whether the lender’s mortgage lien against the property has priority
over any subsequently filed mechanic’s liens. If a construction lender follows the statute and files the proper
paperwork when the loan closes, and mechanics’ lien claims are filed thereafter, the lender’s lien will be senior to the
lien claimants. However, if a lender knowingly files a building loan contract that materially misrepresents the net sum
available to the borrower for the improvement or otherwise evidences a failure to comply with section 22 of N.Y. Lien
Law (e.g., a failure of the affidavit to set forth amounts to be paid for the loan), such lender’s mortgage is subordinated
to subsequently filed mechanic’s liens.


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contractors and as fee owners, in the respective sums of $90,090.00 and $257,400.00 (the “Notices

of Lien”).

               (a)     Claim Against the Property

                        As set forth in the Notices of Lien, S&E, as a mechanic’s lienholder, has a

secured claim against the Property in an amount no less than $756,608.41. There have been no

challenges by Park Place Primary, Park Place Development or Gilbane to S&E’s Notices of Lien.

I have been advised that because a “claim against the debtor” includes “claim against the property

of the debtor” pursuant to section 102(2) of the Bankruptcy Code, which became applicable at the

time the involuntary petition against Park Place Primary was filed, this claim is sufficient to qualify

S&E as a petitioning creditor under section 303(b) of the Bankruptcy Code. Moreover, S&E

hereby waives $16,750 of its secured claim. I have been advised that the unsecured claims held

by the petitioning creditors exceed the statutory threshold required to commence an involuntary

proceeding against Park Place Primary, but S&E has nonetheless decided to waive a portion of its

secured claim in the event that such waiver is necessary to establish the eligibility requirements

set forth in section 303(b).

               (b)     Third-Party Beneficiary Claim

                       I have been advised that S&E has a third party-beneficiary claim directly

against Park Place Primary arising from Park Place Primary’s covenants to perform various actions

required by the BFA. For example, section 13.1(e) of the BFA provides that if any mechanic’s

lien claim is filed or otherwise asserted against the Project or any funds are due to the General

Contractor (Gilbane) or Major Subcontractors (including S&E), that Park Place Primary will

discharge the same, by either payment or the posting of a bond in accordance with Section 19(4)

of N.Y. Lien Law (as amended and in compliance with all other laws). Despite the amounts owed



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                    than $756,608.41.
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